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                            THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OKLAHOMA

   (1) UNITED STATES OF AMERICA,                     )
                                                     )
                         Plaintiff,                  )
                                                     )
                         v.                          )      Case No. 14-CV-704-JHP-TLW
                                                     )
   (1) OSAGE WIND, LLC;                              )
   (2) ENEL KANSAS, LLC; and                         )
   (3) ENEL GREEN POWER                              )
       NORTH AMERICA, INC.,                          )
                                                     )
                         Defendants.                 )

                                 FIRST AMENDED COMPLAINT FOR
                              DECLARATORY JUDGMENT AND DAMAGES

          Plaintiff, the United States of America, by and through Danny C. Williams, Sr., United

   States Attorney for the Northern District of Oklahoma, and Cathryn D. McClanahan, Assistant

   United States Attorney, for its First Amended Complaint against the above-named defendants,

   alleges as follows:

                                       NATURE OF THE ACTION

          1.      In this civil action, the United States seeks a declaratory judgment that the

   excavation activities of Osage Wind, LLC, Enel Kansas, LLC, and Enel Green Power North

   America, Inc. (collectively “Defendants”) in Osage County, Oklahoma, were unlawful because

   Defendants failed to obtain all requisite federal regulatory approvals and failed to enter into

   appropriate leases approved by the Secretary of the Interior (“the Secretary”).

          2.      Defendants conducted unauthorized mineral excavation activities in connection

   with the construction of a wind energy project on 8,400 acres in Osage County, Oklahoma. The

   project consists of between 84 and 94 wind turbines and associated infrastructure. Defendants

   excavated and constructed foundations for the wind turbines, as well as trenches for cables.
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   Defendants excavated numerous pits measuring more than 50 feet wide and more than 10 feet

   deep. As part of this process, Defendants excavated sand, soil of various types, and rock

   encountered in place. Defendants crushed some of these extracted materials and used them to

   reinforce the concrete turbine foundations. Defendants invaded, and irreparably altered, the

   mineral estate by virtue of placement of turbine foundations in these pits.

          3.      The United States seeks a declaratory judgment that the activities of Defendants

   in Osage County, Oklahoma, were unlawful and that Defendants were obligated to obtain the

   requisite federal regulatory approvals and to enter into appropriate leases approved by the

   Secretary.

                                               PARTIES

          4.      The Osage Nation (“Osage Nation”) is a federally recognized Indian tribe. The

   United States is authorized to bring lawsuits on behalf of trust Indian beneficiaries pursuant to 25

   U.S.C. § 175. The United States is further authorized to litigate this case in order to fulfill its

   fiduciary responsibility to protect trust Indian resources. See United States v. Colvard, 89 F. 2d

   312 (4th Cir. 1937). Further, as trustee, the United States is charged with the administration,

   protection, and management of the estate. See Act of June 28, 1906 § 3, 34 Stat. 539, 543-44,

   amended in relevant part by Act of Mar. 2, 1929, 45 Stat. 1478 (extending restricted trust status

   of mineral estate to 1959); Act of June 24, 1938, 52 Stat. 1034 (extending restricted trust status

   of the mineral estate to 1983); Act of Oct. 21, 1978, 92 Stat. 1660 (extending restricted trust

   status of minerals estate in perpetuity). In furtherance of those trust responsibilities, the Bureau

   of Indian Affairs (“BIA”) has promulgated and administers regulations governing activities

   affecting the Osage minerals estate. The United States brings this lawsuit in its capacity as

   trustee of the Osage minerals estate, as well as to enforce compliance with federal law.




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            5.    Defendant Osage Wind, LLC, is a Delaware limited liability company and has its

   headquarters at 717 Kihekah Avenue, Pawhuska, Oklahoma 74056. It is 100% owned by Enel

   Kansas, LLC.

            6.    Defendant Enel Kansas, LLC, is a Delaware limited liability company and has its

   headquarters at Southlake Technology Park, 16105 West 113th Street, Suite 105, Lenexa, Kansas

   66219. It is 100% owned by Enel Green Power North America, Inc.

            7.    Defendant Enel Green Power North America, Inc. is incorporated under the laws

   of Delaware and has its headquarters at One Tech Drive, Suite 220, Andover, Massachusetts

   01810.

                                       JURISDICTION AND VENUE

            8.    This Court has jurisdiction under 28 U.S.C. §§ 1345, which provides that the

   district courts shall have original jurisdiction in all civil actions commenced by the United States

   or any agency thereof. McCarty v. Hollis, 120 F. 2d 540 (10th Cir. 1941).

            9.    Venue is proper in this district under 28 U.S.C. § 1391(b), inasmuch as the

   property at issue is located in Osage County, Oklahoma. 28 U.S.C. § 1661(b).

                                                    FACTS

            The Osage Nation and the Osage Mineral Estate

            10.   The Osage Nation is a federally recognized Indian tribe. The Osage Reservation

   was originally established through the Act of June 5, 1872, ch. 310, 17 Stat. 228 (An Act to

   Confirm to the Great and Little Osage Indians a Reservation in Indian Territory).

            11.   In 1906, Congress enacted the Osage Allotment Act, which severed the mineral

   estate from the surface estate of Osage Reservation and placed the mineral estate in trust for the

   tribe. See Act of June 28, 1906, ch. 3572, 34 Stat. 539. The surface estate was allotted to




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   individual members of the tribe for the purpose of homesteading. Id. at §2. Congress regarded

   the surface estate as suitable for farming and grazing. S. Rep. No. 59-4210, 59th Congress

   (1906) (Division of the Lands and Funds of Osage Indians, Oklahoma) at 2.

          12.     Congress, in the Osage Allotment Act, specifically reserved “oil, gas, coal, or

   other minerals covered by the lands” to the Osage Tribe. Osage Allotment Act at §3. In severing

   the mineral estate from the surface estate, Congress did not contemplate uses of the surface estate

   which would interfere with the mineral estate beyond those normally associated with

   homesteading, farming, and grazing.

          13.     The Osage Minerals Council is an independent agency within the Osage Nation

   established by Article XV of the Osage Nation Constitution. Among the responsibilities of the

   Osage Minerals Council is the negotiation of leases for the development and extraction of

   minerals from the Osage mineral estate.

          14.     The BIA and its Osage Agency in Pawhuska, Oklahoma, administer many of the

   United States’ trust duties related to the Osage mineral estate.

          Defendants’ Mining Activities

          15.     Defendants are constructing a wind energy project consisting of between 84 and

   94 turbines, underground collection lines, an overhead transmission line, two permanent

   meteorological towers, and a network of access roads.

          16.     Immediately below the surface, the mineral estate contains limestone, sandy soil

   (sand and gravel), and other minerals belonging to the Osage Nation.

          17.     The installation of the wind energy project’s turbines and foundations required

   substantial excavation of the subsurface estate belonging to the Osage Nation, which is held in

   trust by the United States and regulated by the BIA.




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          18.     The foundations for the wind turbines are made from reinforced concrete, in a

   conical shape with a base diameter of more than 50 feet, buried to a depth of approximately 10

   feet in the subsurface estate. These turbines will invade and irreparably damage the minerals

   estate so long as they are in place.

          19.     For each of the turbines, Defendants dug pits measuring more than 60 feet wide

   and 30 feet deep and excavating limestone, sandy soil and other minerals from the subsurface

   estate. Rock from the excavations came out in pieces of varying size and shape.

          20.     Defendants utilized rock crushers to crush some materials.

          21.     Once a foundation for the turbine was poured and had cured, the crushed rock,

   sand and soil from the excavation were pushed back into the excavated site as backfill.

          22.     Upon information and belief, the excavation of sites for all the planned turbines

   will involve disturbance of over 60,000 cubic yards of whatever minerals or materials

   Defendants may have found in place.

          The Defendants’ Activities Require Prior Approvals

          23.     Generally, the development of Indian tribal solid mineral resources is governed by

   federal regulations found at 25 C.F.R. § 211. There are specific regulations applicable to non-oil

   and gas mining (commonly referred to as hard minerals) on the Osage Mineral Reserve as set

   forth in 25 C.F.R. § 214. 1

          24.     Pursuant to 25 C.F.R. § 214.7, “No mining or work of any nature will be

   permitted upon any tract of land until a lease covering such tract shall have been approved by the




   1
    The instant Amended Complaint does not concern or make any allegations that concern oil and
   gas development or exploring, severing, capturing or producing oil and gas. In fact, oil and gas
   exploration is specifically excepted from Part 214.


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   Secretary of the Interior and delivered to the lessee.”     Defendants are performing (or did

   perform) mining or work of any nature and such actions are not (and were never) authorized.

          25.     Additionally, “Leases of minerals other than oil and gas may be negotiated with

   the tribal council after permission to do so has been obtained from the officer in charge [the

   superintendent of the Osage Indian Agency].” 25 C.F.R. § 214.2. Defendants are performing (or

   did perform) mining or work of any nature and do not have a negotiated lease, as contemplated

   by this section.

          26.     According to 25 C.F.R. § 211.3, “mining” is “the science, technique, and business

   of mineral development including, but not limited to: opencast work, underground work, and

   in-situ leaching directed to severance and treatment of minerals; Provided, when sand, gravel,

   pumice, cinders, granite, building stone, limestone, clay or silt is the subject mineral, an

   enterprise is considered ‘mining’ only if the extraction of such mineral exceeds 5,000 cubic yards

   in any given year.”

          Notice to the Defendants Regarding Unauthorized Activities

          27.     Defendants initiated excavation work and substantial disturbance and invasion of

   the mineral estate on September 10, 2014.

          28.     Upon learning of the massive excavation undertaken by Defendants, Osage

   Agency Superintendent Robin Phillips wrote to Defendant Enel Green Power North America,

   Inc. on October 9, 2014, and demanded that the subject activities cease until an appropriate

   permit or lease for the excavation and use of minerals from the Osage Mineral Reserve was

   approved by the Osage Nation and the BIA.




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          29.     On October 29, 2014, the Osage Mineral Council approved Resolution 3-25,

   requesting the assistance of the United States to protect the Osage Mineral Reserve from

   unauthorized commercial use.

          30.     Despite these notices, Defendants have not sought and have expressly refused to

   seek appropriate authorization.

          31.     Defendants have represented that all excavation work associated with the

   placement of turbine foundations was “100%” completed as of November 28, 2014.

                                              COUNT I

                     DECLARATION REGARDING THE APPLICABILITY
                           AND VIOLATION OF 25 C.F.R. § 211

          32.     The United States realleges and incorporates the preceding paragraphs.

          33.     The Defendants have engaged in unauthorized mining and excavation in the

   subsurface lands of the Osage mineral estate without first obtaining a lease approved by the

   Secretary.

          34.     25 C.F.R. § 211 sets forth the regulations that are generally applicable to the

   leasing of tribal lands for mineral development. Although these regulations specifically carve

   out from their coverage certain sets of regulations for specified Indian tribes (see 25 C.F.R. §

   211.1(e)), no such carve out is made for the Osage Nation. Thus, by their terms, the regulations

   in § 211 are applicable to the mining and extraction of solid minerals from the subsurface lands

   of the Osage mineral estate.

          35.     25 C.F.R. § 211.48 explicitly prohibits “exploration, drilling, or mining operations

   on Indian land” without obtaining from the Secretary (a) “written approval of a mineral lease or

   permit” and (b) “after a lease or permit is approved, written permission before any operations are

   started on the leased premises.”



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          36.     25 C.F.R. § 211.3 defines “Indian Land” as “any lands owned by any individual

   Indian . . . or other tribal group which owns land or interests in the land, the title to which is held

   in trust by the United States or is subject to a restriction against alienation imposed by the United

   States.” In the case of the Osage Nation, the Indian lands are the subsurface mineral estate

   which was reserved by Congress for the benefit of the Tribe.

          37.     25 C.F.R. § 211.3 defines “mining” as “the science, technique, and business of

   mineral development.” Further, that section provides that “mining” includes but is not limited to

   “opencast work, underground work, and in-situ leaching.” When the subject mineral is sand,

   gravel, pumice, cinders, granite, building stone, limestone, clay or silt, extraction is only

   “mining” if it exceeds “5,000 cubic yards in any given year.”

          38.     Defendants have extracted more than 5,000 cubic yards of sand, gravel, pumice,

   cinders, granite, building stone, limestone, clay or silt this year. Therefore, they are engaged in

   “mining” under the definition set forth in the Code of Federal Regulations.

          39.     The Defendants have engaged in excavating, extracting, severing, converting, and

   crushing minerals from the subsurface Osage mineral estate without obtaining a proper lease,

   permit or approval as required by federal law.

          40.     By reason of the foregoing, an actual and justiciable controversy exists. The

   United States therefore seeks a declaratory judgment that Defendants’ activities required

   compliance with 25 C.F.R. § 211 and that the express terms of that section have been violated by

   Defendants.




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                                              COUNT II

                     DECLARATION REGARDING THE APPLICABILITY
                           AND VIOLATION OF 25 C.F.R. § 214

          41.     The United States realleges and incorporates by reference the preceding

   paragraphs.

          42.     The regulations applicable to mining on Osage reservation lands provide that

   “[n]o mining or work of any nature will be permitted upon any tract of land until a lease covering

   such tract shall have been approved by the Secretary of the Interior and delivered to the lessee.”

   25 C.F.R. § 214.7. Here, the Defendants have violated the regulations because they engaged in

   mining or other work without having first obtained an appropriate lease and prior approvals.

          43.     “Leases of minerals other than oil and gas may be negotiated with the tribal

   council after permission to do so has been obtained from the officer in charge [the

   Superintendent of the Osage Agency].” 25 C.F.R. § 214.2. Defendants failed to obtain an

   approved lease regarding the mining or other work performed on the Osage mineral reserve.

          44.     By reason of the foregoing, an actual and justiciable controversy exists. The

   United States therefore seeks a declaratory judgment that Defendants’ activities required

   compliance with 25 C.F.R. § 214 and that the express terms of that section have been violated by

   Defendants.

                                             COUNT III

                                             TRESPASS

          45.     The United States realleges and incorporates by reference the preceding

   paragraphs.




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          46.     Defendants were never authorized to extract minerals from the Osage mineral

   reserve. Defendants never entered into a lease or had a lease approved by the Secretary to

   extract, excavate or make use of minerals.

          47.     Defendants were prohibited from extracting and excavating minerals pursuant to

   25 C.F.R. § 211 or pursuant to 25 C.F.R. § 214.

          48.     Defendants entered and disrupted the Osage mineral estate and excavated

   minerals therefrom, in a manner constituting trespass.

          49.     Defendants knew or should have known that they were required to comply with

   the express provisions of 25 C.F.R. § 211 or 25 C.F.R. § 214.

          50.     By conducting unauthorized and unapproved mining or work related to minerals,

   as contemplated by 25 C.F.R. § 211 or 25 C.F.R. § 214, Defendants trespassed on the Osage

   mineral estate, in violation of law and, in doing so, caused damages.

          51.     Defendants are co-trespassers and are jointly and severally liable for all damages

   that resulted from the trespass.

                                                COUNT IV

                                      CONTINUING TRESPASS

          52.     The United States realleges and incorporates by reference the preceding

   paragraphs.

          53.     Defendants were never authorized to extract minerals from the Osage mineral

   reserve. Defendants did not enter into a lease or have a lease approved by the Secretary to

   extract, excavate or make use of minerals.

          54.     Defendants were prohibited from invading, extracting and excavating minerals

   pursuant to 25 C.F.R. § 211 or pursuant to 25 C.F.R. § 214.




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             55.   Defendants entered and disrupted the Osage mineral estate and excavated

   minerals therefrom, in a manner constituting continuing trespass.

             56.   Defendants knew or should have known that they were required to comply with

   the express provisions of 25 C.F.R. § 211 or 25 C.F.R. § 214.

             57.   By placement of the turbine foundation and other materials, Defendants

   trespassed on the Osage mineral estate, in violation of law and, in doing so, caused damage to the

   estate.    The insertion and placement of materials or structures in the mineral estate is a

   continuing trespass and diminishes the estate or diminishes the use and enjoyment of the mineral

   estate.

             58.   Defendants are co-trespassers and are jointly and severally liable for all damages

   that resulted from the continuing trespass.

                                                 COUNT V

                                            CONVERSION

             59.   The United States realleges and incorporates by reference the preceding

   paragraphs.

             60.   The Osage Allotment Act severed the mineral estate from the surface estate of

   Osage Reservation and placed the mineral estate in trust for the tribe. As trustee, the United

   States is charged with the administration, protection, and management of the estate.

             61.   Defendants were prohibited from extracting and excavating minerals pursuant to

   25 C.F.R. § 211 or pursuant to 25 C.F.R. § 214.

             62.   Defendants entered and disrupted the Osage mineral estate and excavated

   minerals therefrom, in a manner constituting conversion.




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          63.     Defendants knew or should have known that they were required to comply with

   the express provisions of 25 C.F.R. § 211 or 25 C.F.R. § 214.

          64.     By conducting unauthorized and unapproved mining or work related to minerals,

   as contemplated by 25 C.F.R. § 211 or 25 C.F.R. § 214, Defendants converted property

   belonging to the Osage mineral estate and, in doing so, caused damages.

          65.     Defendants are jointly and severally liable for all damages that resulted from the

   conversion.

                                       PRAYER FOR RELIEF

          WHEREFORE, the United States respectfully requests that this Court:

          1.      Enter a declaratory judgment under 25 U.S.C. § 2218 that Defendants are in

   violation of 25 C.F.R. § 211 and that mining and excavation activities undertaken by Defendants

   were and are subject to the regulations set out at 25 C.F.R. § 211.

          2.      Enter a declaratory judgment under 25 U.S.C. § 2218 that Defendants are in

   violation of 25 C.F.R. § 214 and that mining and excavation activities and work of any nature

   undertaken by Defendants were and are subject to the regulations set out at 25 C.F.R. § 214.

          3.      Enter a judgment assessing damages, as determined, to the Osage mineral estate

   for unlawful or unauthorized mining, excavation or other work, as set out in the federal

   regulations.

          4.      Enter a judgment finding Defendants jointly and severally liable for damages, in

   an amount to be proven, resulting from the trespass and conversion.

          5.      Enter a judgment finding Defendants are responsible for an ongoing and

   continuing trespass and an order that structures or materials placed, without authorization, in the

   mineral estate must be removed.



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          6.      Enter a judgment requiring Defendants to account or provide accounting for any

   and all excavation, mining and other work, as set out in the federal regulations.

          7.      Enter a judgment awarding damages, with interest, to the Plaintiff for trespass,

   conversion, and continuing trespass to the extent allowed under the law, plus any applicable

   multipliers, additions, penalties and accruals to date of judgment.

          8.      Enter appropriate permanent injunctive relief, including enjoining Defendants

   from any excavation, mining or other work that concerns the Osage mineral reserve, unless an

   authorized lease has been approved by the Secretary.

          9.      Award such other and further relief as the Court determines to be just and proper.


                                                 Respectfully submitted,

                                                 UNITED STATES OF AMERICA

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                                  CERTIFICATE OF SERVICE

           I hereby certify that on December 12, 2014, I electronically transmitted the foregoing to
   the Clerk of Court using the ECF System for filing and transmittal of a Notice of Electronic
   Filing to the following ECF registrants:

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